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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JAMES MARTIN, Individually and on Behalf of
All Others Similarly Situated,
                             Plaintiti,         Civil Action No.
      vs.

NQ MOBILE, INC.; HENRY YU LIN; OMAR
SHARIF KHAN; VINCENT WENYONG SHI;
XU ZHOU; JAMES DING; JUN ZHANG; YIN             JURY TRIAL DEMANDED
HAN; WILLIAM TIEWEI LI; XIUMING TAO;
WEIGUO ZHAO; SUHAI JI; PIPER JAFFRA Y &
CO.; OPPENHEIMER HOLDINGS, INC.; and
CANACCORD GENUITY INC.,

                             Defendants.



                          CLASS ACTION COMPLAINT
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       Plaintiff James Mmiin ("Plaintiff'), by his attomeys, alleges the following upon

information and belief except for those allegations that pertain to Plaintiff and his attorneys,

which are based on personal knowledge. Plaintiff's information and belief are based upon,

among other things, Plaintiff's counsel's investigation, which includes, among other things,

review and analysis of Securities and Exchange Commission ("SEC") filings by NQ Mobile,

Inc. ("NQ" or the "Company"), analyst reports, research, and other media reports about the

Company. Plaintiff believes that substantial, additional evidentiary supp01i will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

                                       INTRODUCTION

        1.     This federal securities class action is brought on behalf of purchasers of the

American Depositary Shares ("ADS") of NQ on the New York Stock Exchange ("NYSE")

during the period between May 5, 2011 and October 24, 2013, inclusive (the "Class Period"),

including, but not limited to, those who purchased NQ ADS pursuant and/or traceable to the

Registration Statement and Prospectus (collectively, the "Offering Documents") issued by the

Company in conjtmction with its May 5, 2011 Initial Public Offering (the "IPO"). The action

seeks remedies under the Securities Act of 1933 (the "Securities Act") and the Securities

Exchange Act of 1934 (the "Exchange Act").

       2.      Defendant NQ is a company incorporated in the Cayman Islands, with

headqumiers in Beijing, the People's Republic of China. The Company was founded in 2005

and purpmis to provide mobile intemet services in the m·eas of privacy, mobile security,

personalized cloud, productivity, and family protection.

       3.      On May 5, 2011, NQ initiated the IPO for the Company's ADS. Proceeds from

the IPO, before expenses, totaled approximately $82.8 million.



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       4.       Following the IPO, and during the Class Period, NQ share prices increased

significantly, climbing to nearly $25 per share in October 2013.

        5.      On October 24, 2013, equity research firm Muddy Waters LLC ("Muddy

Waters") initiated coverage on NQ with a "Strong Sell" rating and a projected target price of

less than $1.

       6.       On the same clay, Muddy Waters issued a research repmi assetiing that NQ has

greatly overstated and exaggerated its financial performance.

       7.       Among other things, Muddy Waters' repmiecl: (i) at least 72% ofNQ's reported

$32.2 million in 2012 China mobile security applications revenue is fraudulent- NQ's real

mobile security revenue is $2.5 million- $7.7 million; (ii) NQ's largest customer is actually an

empty shell company controlled by NQ; (iii) NQ's real market share in China is only about

1.4% versus the approximately 55% it reports; (iv) NQ's international revenues are wildly

overstated; and (v) the vast majority of the $127.9 million cash and investments NQ repmiecl

having as ofDecember 31,2012 is not actually in the Company's accounts.

       8.       Upon the release of this information, on October 24, 2013, NQ shares declined

47% to $12.09 per share from $22.88 per share, on unusually heavy volume of 29.3 million

ADS traded.

                               JURISDICTION AND VENUE

       9.       The claims assetiecl herein arise under Sections 11, 12(a)(2), and 15 of the

Securities Act (15 U.S.C. §§77k, 77l(a)(2), and 77o) and Sections 10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§78j(b) and 78t(a)).




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        10.     This Comi has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, Section 27 of the Exchange Act (15 U.S.C. §78aa), and Section 22 of the

Securities Act (15 U.S.C. §77v).

        11.     Venue is proper in this Judicial District pursuant to 28 U.S.C. §139l(b), Section

27 of the Exchange Act, and Section 22 of the Securities Act. Substantial acts in fmtherance of

the illegal conduct alleged herein have occuned in this Judicial District. Many of the acts

complained of herein, including the dissemination of materially false and misleading

statements and reports prepared by or with the participation, acquiescence, encouragement,

cooperation, or assistance of Defendants occurred, at least in part, in this Judicial District.

Additionally, the Company's agent for service in connection with its IPO is located at 400

Madison Avenue, 4 111 Floor, New York, NY 10017.

        12.    In connection with the acts alleged in this Complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate conm1erce, including, but not

limited to, the mails, interstate telephone communications, and the facilities of the NYSE, a

national securities exchange located in this Judicial District.

                                            PARTIES

       13.     Plaintiff James Martin, as set forth m the Certification attached hereto,

purchased the ADS of NQ at atiificially inflated prices during the Class Period and suffered

damages as a result of the federal secmities law violations alleged herein.

       14.     Defendant NQ, together with its subsidiaries, is a Cayman Island corporation

with headquatiers in Beijing, the People's Republic of China.        The Company is primarily

engaged in the business of mobile security, privacy, and productivity. The Company was




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originally named NetQin Mobile Inc., and changed its name to NQ Mobile in April 2012. NQ

ADS are traded on the New York Stock Exchange ("NYSE") under the ticker symbol "NQ."

        15.     Defendant Henry Yu Lin ("Lin") is the Chairman and Co-Chief Executive

Of1icer ofNQ.

        16.     Defendant Omar Sharif Khan ("Khan") is a Director and Co-Chief Executive

Officer ofNQ.

        17.     Defendant Vincent Wenyong Shi ("Shi") is a Director and Chief Operating

Officer ofNQ.

        18.     Defendant Xu Zhou ("Zhou") is a Director ofNQ.

        19.     Defendant James Ding ("Ding") is a Director of NQ. Defendant Ding is the

Chairperson of the Board ofDirector's Corporate Governance and Nominating Committee.

        20.     Defendant Jun Zhang ("Zhang") is a Director of NQ. Defendant Zhang IS

Chairperson of the Board of Director's Compensation Committee and a member of the Audit

and the Corporate Governance and Nominating Committees.

       21.      Defendant Yin Han ("Han") is a Director ofNQ. Defendant Han is Chairperson

of the Board of Director's Audit Committee and a member of the Compensation and the

Corporate Governance and Nominating Committees.

       22.      Defendant William Tiewei Li ("Li") is a Director of NQ. Defendant Li is a

member of the Board of Director's Compensation Committee.

                Defendant Xiuming Tao ("Tao") is a Director of NQ. Defendant Tao IS a

member of the Board of Director's Audit Committee.

       24.      Defendant Weiguo Zhao ("Zhao") was a Director ofNQ until his May 3, 2012

retirement.



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       25.     Defendant Suhai Ji ("Ji") was the Chief Financial Officer of NQ until

September 2013.

       26.     Defendants Lin, Khan, Shi, Zhou, Ding, Zhang, Han, Li, Tao, Zhao, and Ji are

collectively referred to herein as the "Individual Defendants."

       27.     Defendant Piper Jaffray & Co. ("Piper Jaffray") is an investment bank and asset

management firm focused on, among other things, public offerings. Piper Jaffray is

headquartered in Mim1eapolis, Mim1esota. Defendant Piper Jaffray was an underwriter for the

IPO ofNQ ADS.

       28.     Defendant Oppenheimer Holdings, Inc. ("Oppenheimer") is an investment banlc

Oppenheimer is headqumiered in New York, New York.                A wholly-owned subsidiary of

Oppenheimer, Oppenheimer & Co., Inc., was an underwriter for the IPO ofNQ ADS.

       29.     Defendant Canaccord Genuity Inc. ("Canaccord Genuity") is an investment

bank with U.S. headquarters located in New York, New York. Defendant Canaccord Genuity

was an underwriter for the IPO ofNQ ADS.

       30.     Defendants Piper Jaffray, Oppenheimer, and Canaccord Genuity are collectively

refe1Ted to herein as the "Underwriter Defendants.''

       31.     NQ, the Individual Defendants, and the Underwriter Defendants are collectively

referred to herein as the "Defendants."

       32.     During the Class Period, the Individual Defendants, as senior executive officers

and/or directors of NQ, possessed the power and authority to control the contents of NQ's

financial statements, press releases, and presentations to securities analysts, money and

portfolio managers, and institutional investors, i.e., the market.    They were provided with

copies of the Company's reports and press releases alleged herein to be false or misleading



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prior to or shmily after their issuance and had the ability and opportunity to prevent their

issuance or cause them to be corrected. Because of their positions with the Company, and their

access to material, non-public information available to them but not to the public, the

Individual Defendants knew or recklessly disregarded that the adverse facts specified herein

had not been disclosed to and were being concealed from the public and that the positive

representations being made were then materially false and misleading.             The Individual

Defendants are liable for the false and misleading statements pleaded herein.

       33.     The IPO was underwritten by the Underwriter Defendants. Pursuant to the

Securities Act, the Underwriter Defendants are liable for the false and misleading statements in

the IPO O±Iering Documents. The Underwriter Defendants' failure to conduct adequate due

diligence investigations was a substantial factor leading to the hrun1 complained of herein.

       34.     The Underwriter Defendants are investment banking firms which specialize in,

among other things, underwriting public offerings of securities.            They served as the

underwriters of the IPO and received, collectively, more than $6.2 million in fees.

       35.     Representatives of the Underwriter Defendants assisted NQ and the Individual

Defendants in planning the IPO, and purportedly conducted an adequate and reasonable

investigation into the business and operations of NQ, an undertaking known as a "due

diligence" investigation. The due diligence investigation was required of the Undetwriter

Defendants in order to engage in the IPO. During the course of their "due diligence," the

Underwriter Defendants had continuous access to confidential corporate infom1ation

concerning NQ's business sales model, financial condition, internal controls, and future

business plans and prospects.

       36.     In addition to availing themselves of access to intemal corporate documents,



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agents of the Underwriter Defendants, including their counsel, met with NQ's lawyers,

management, and top executives to determine: (i) the strategy to best accomplish the IPO;

(ii) the tetms of the IPO, including the price at which shares of NQ ADS would be sold; (iii)

the language to be used in the Offering Documents; (iv) what disclosures about NQ would be

made in the Offering Documents; and (v) what responses would be made to the SEC in

connection with its review of the Offering Documents. As a result of those constant contacts

and communications between the Underwriter Defendants' representatives and NQ's

management and top executives, the Underwriter Defendants knew, or should have known, of

NQ's existing problems, and misstatements and omissions contained in the Offering

Docmnents, as detailed herein.

       37.        The Underwriter Defendants caused the Offering Documents to be filed with the

SEC and declared effective in connection with offers and sales thereof, including to Plaintiff

and the Class.

                                CLASS ACTION ALLEGATIONS

       38.        Plaintiff brings this action as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and (b)(3) on behalf of the Class of all persons or entities that purchased or

otherwise acquired NQ ADS (i) between May 5, 2011 and October 24, 2013, inclusive, to seek

remedies under the Exchange Act; and/or (ii) pursuant and/or traceable to the Offering

Documents issued in conjunction with its May 5, 2011 IPO, to seek remedies under the

Securities Act.

       39.        Excluded from the Class are Defendants, the officers and directors of the

Company at all relevant times, members of their immediate f~nnilies, and their legal




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representatives, heirs, successors, or assigns and any entity in which Defendants have or had a

controlling interest.

        40.         The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, NQ ADS were actively traded on the NYSE.

While the exact number of Class members is unknown to Plaintiff at this time and can only be

ascertained through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Owners of record and other members of the

Class may be identified from records maintained by NQ or its transfer agent and notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        41.         Plaintiff's claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants' wrongful conduct in violation of

federal law complained ofherein.

        42.         Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class action and securities

litigation

        43.         Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               1.          Whether the federal securities laws were violated by
                           Defendants' acts as alleged herein;

              11.          Whether statements made by Defendants to the investing
                           public during the Class Period misrepresented material facts
                           about the business and operations ofNQ;




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              111.         Whether statements made by Defendants to the investing
                           public in the Offering Documents misrepresented material facts
                           about the business and operations ofNQ;

              IV.          Whether the price of NQ ADS were artificially inflated during
                           the Class Period; and

               v.          To what extent the members of the Class have sustained
                           damages and the proper measure of damages.

        44.         A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action

as a class action.

                                   SUBSTANTIVE ALLEGATIONS

Defendants' False Statements

        45.         On March 15, 2011, NQ filed an IPO Registration Statement on Form F-1 with

the SEC. After a series of amendments, the Registration Statement was declared effective by

the SEC on May 4, 2011. The Registration Statement was signed by Defendants Lin, Ji, Ding,

Zhang, Zhao, Zhou, Shi, and Han.

        46.      The final amendment to the Registration Statement filed on Fonn F-IlA with

the SEC on May 4, 2011 made the following representations, among others, in relevant part:

       According to a January 2011 rep01i prepared by Frost & Sullivan, a third-party
       market research firm, we are the dominant provider ill the mobile security
       indusfly in China with a 67.7% market share as of December 31, 2010, as
       measured by the number of registered user accounts.

                                             *       *       *
       We provide a comprehensive suite of mobile Internet services that protect
       mobile users from security threats and enhance their productivity.

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                                      *       *      *
       As of March 31, 2011, the number of registered user accounts for our services
       reached approximately 85.97 million in over 100 countries, representing a
       sizeable share of the fast-growing market for mobile Internet services.

                                      *       *      *
       Since our inception, we have focused on building a large and engaged user base.
       Our cumulative registered user accounts as of December 31, 2008, 2009 and
       2010 and as ofMarch 31,2011 were 15.18 million, 35.63 million, 71.69 million
       and 85.97 million, respectively. Our average monthly active user accounts for
       the three months ended December 31, 2008, 2009 and 20 10 and March 31,
       2011, were 5.46 million, 11.96 million, 25.44 million and 30.26 million,
       respectively, and our average monthly paying user accounts for the three
       months ended December 31, 2008, 2009 and 20 I 0 and March 31, 2011, were
       1.03 million, 1.14 million, 3.24 million and 3.67 million, respectively.

                                      *       *      *
       We have grown significantly since we commenced our operations. Our total net
       revenues increased from $4.0 million in 2008 to $5.3 million in 2009 and to
       $17.7 million in 2010, representing a compound annual growth rate, or CAGR,
       of 111.4%.

[Emphasis added.]

       47.    The final Prospectus was filed with the SEC on May 6, 2011.

       48.    The Prospectus made the following representations, among others, in relevant

pmi:

               According to a January 2011 report prepared by Frost & Sullivan, a
       third-party market research firm, we are the dominant provider in the mobile
       security industry in China with a 67.7% market share as of December 31,
       2010, as measured by the number of registered user accounts.

                                      *      *
               We provide a comprehensive suite of mobile Internet services that
       protect mobile users from security threats and enhance their productivity.

                                      *      *       *



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               As of March 3I, 20 II, the number of registered user accounts for our
       services reached approximately 85.97 million in over I 00 countries,
       representing a sizeable share of the fast-growing market for mobile Intemet
       services.

                                        *       *      *
               Since our inception, we have focused on building a large and engaged
       user base. Our cumulative registered user accounts as of December 31, 2008,
       2009 and 20IO and as of March 3I, 20I1 were 15.18 million, 35.63 million,
       71.69 million and 85.97 million, respectively. Our average monthly active user
       accounts for the three months ended December 31, 2008, 2009 and 201 0 and
       March 31, 2011, were 5.46 million, 11.96 million, 25.44 million and 30.26
       million, respectively, and our average monthly paying user accounts for the
       three months ended December 3I, 2008, 2009 and 2010 and March 31, 2011,
       were 1.03 million, 1.14 million, 3.24 million and 3.67 million, respectively.

                                        *       *      *
               We have grown significantly since we commenced our operations. Our
       total net revenues increased from $4.0 million in 2008 to $5.3 million in 2009
       and to $17.7 million in 2010, representing a compound annual growth rate, or
       CAGR, of lii.4%.

[Emphasis added.]

       49.     On August 3, 2011, NQ announced its Second Qumier 2011 financial results,

which were attached to a CuiTent Report t1led on Fonn 6-K with the SEC on August 9, 2011.

The Company rep01ied that net revenues increased 147.4% year-over-yem· to $8.9 million from

$3.6 million in the Second Qumier 2010 and that operating income increased 241.7% year-

over-yem· to $0.5 million from $0.14 million. In addition, the CuiTent Report stated, in relevant

pmi:

       "Our 2011 second quarter results exceeded our original guidance, ret1ecting our
       rapid growth and further validating our freemium business model,'' commented
       Dr. Henry Lin, chai1man and chief executive officer of NetQin Mobile. "We
       delivered another solid quarter, building on the momentum of the Company's
       IPO, and achieved record net revenues and non-GAAP profit."

       "Our IPO on the New York Stock Exchange in May raised our public profile
       significantly and has provided us with a great platform to expand our business


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        globally. Our visibility, credibility and financial strength as a NYSE-listed
        company have better positioned us to forge relationships with more leading
        companies in the mobile ecosystem. For example, we recently formed strategic
        partnerships with Telefonica and MediaTek to offer our mobile Internet services
        to their customers. These alliances position NetQin for more exciting growih
        opportunities globally and reflect the trust NetQin's products and services have
        earned across the industry."

        "Our registered user accounts exceeded 100 million in the second quarter and
        this milestone reflects the growing, worldwide demandfor mobile security in
        the face of new malware threats to smartplwne platforms. We also
        successfully launched NetQin Mobile Security 5.0 for the Android and Symbian
        platforms which resulted in a record number of active and paying user accounts
        in the second qumier. Looking forward, we will continue to expand our product
        and service offering in order to maintain our leadership position and execute on
        our global growth strategy," said Dr. Lin.

[Emphasis added.]

        50.     NQ also reported cash and cash equivalents of $98.4 million as of June 30,

2011.

        51.     On November 3, 2011, NQ announced its Third Quarter 2011 financial results,

which were attached to a CuiTent Repmi filed on Form 6-K with the SEC on November 4,

2011. The Company reported that net revenues increased 109.7% year-over-year to $11.3

million from $5.4 million in the Third Quarter 201 0 and that operating income increased

67.8% yem·-over-year to $2.1 million from $1.2 million. In addition, the CmTent Report stated,

in relevant part:

        "I am very pleased to report that we achieved another strong qumier, delivering
        record revenue and beating the high end of our guidance,'' commented Dr.
        Henry Lin, chairman and chief executive officer of NetQin. "Even in the face
        of global economic uncertainty, our business and user growth have not
        experienced any slowdown, in fact our business momentum remains as strong
        as ever. We continue to benefit from the rapid growth in global smartphone
        shipments and the proliferation of mobile Internet applications. Smartphone
        users have become increasingly aware of the severity of mobile security risks
        and are implementing mobile security solutions in response. NetQin is well
        positioned to seize this global market opportunity."



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                                         *       *       *
       "We have achieved two consecutive record quarters following our !PO in May
       2011 ami we are confident that we will continue to deliver strong operational
       and financial results given our solid business fundamentals and promising
       growth prospects. We look forward to bringing more exciting news and
       progress to our shareholders when we repmi our fourth quarter and full-year
       2011 results next year," Dr. Lin concluded.

[Emphasis added.]

       52.     On March 6, 2012, NQ announced its Fomth Quarter and Fiscal Year 2011

financial results and filed a Current Report on Form 6-K with the SEC. The Company repmied

that net revenues for Fiscal Year 2011 increased 129.8% year-over-year to $40.7 million from

$17.7 million in Fiscal Year 2010 and that operating income increased $5.5 million from a loss

of $9.6 million in 2010. In addition, the CuiTent Report stated, in relevant part:

       "We are very pleased to report a strong fomih qumier and to finish year 2011 on
       a high note exceeding our previously issued guidance," commented Dr. Henry
       Lin, chairn1an and co-chief executive officer of NetQin Mobile. "In our first
       year as a public company, we have achieved excellent growth and delivered
       three consecutive solid quarters following our /PO in May 2011.

       "In 2011, NetQin Mobile set a number of new records in financial and operating
       metrics. Both our net revenues and registered user base reached record highs,
       more than doubling from the previous year. This success is driven by a number
       of factors including our relentless focus on product and technology im1ovation,
       as well as user experience. We also continued our expansion of industry
       pm·tnerships and user acquisition channels. The rapid growth of global
       smartphone shipments and the proliferation of mobile Internet applications, as
       well as increasing consumer awareness and adoption of mobile security helped
       assure our success," continued Dr. Lin.

       "While maintaining our dominant market share in China, we have also seen
       our internationalization strategy take off in 2011, with now almost half of our
       net revenues coming from overseas. This underscores the global demand for
       mobile security and privacy protection. With the recent joining of Omar Khan
       as our Co-CEO, we will continue to expand and grow our international business
       aggressively, signing up new industry pminers and making key hires in overseas
       markets."




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        "We believe the growth of the smartphone and mobile Internet industry presents
        us with an unprecedented global market opportunity. 2012 is shaping up to be
        another exciting year for NetQin Mobile during which we will continue to
        expand our service offerings and extend our geographic outreach," said Khan.
        "With recently announced agreements with Motorola, Telefonica, 3LM and
        eSecuritel, we already had a great start in 2012 and I am also pleased to report
        that Cricket Communications, a leading provider of wireless services that serves
        six million customers in 35 states, has just selected NetQin as the prefened
        security solution provider for its Android devices. We remain confident that we
        will continue our growth momentum in 2012 and capitalize on these global
        opportunities."

[Emphasis added.]

        53.     The Company reported that cash and cash equivalents and term deposits

together amounted to $128.1 million as of December 31,2011.

        54.     On March 30, 2012, NQ filed its Annual Report with the SEC on Form 20-F.

The accompanying Sarbanes-Oxley Certifications for the 20-F were signed by Defendants Lin,

Khan, and Ji.

       55.      The Annual Report states, in relevant pari:

       Net revenues collected through our top mobile payment service provider,
       Yidatong, contributed 20.0%, 21.4% and 25.8% of our total net revenues in
       2009,2010 and 2011, respectively.

[Emphasis added.]

       56.      On August 9, 2012, NQ announced its Second Qumier 2012 financial results

and filed a Cunent Repmi on Form 6-K with the SEC. The Company reported that net

revenues increased 125.0% year-over-year to $20.0 million from $8.9 million in the Second

Quarter 2011 and that operating income increased 216.4% year-over-year to $1.5 million from

$0.5 million. In addition, the Cunent Report stated, in relevant pmi:

       "I am pleased to report that we delivered another solid quarter with record
       revenue again exceeding the high end of the previously issued guidance. We
       achieved another milestone in our business as our registered user accounts
       surpassed the 200 million mark in the second quarter, nearly doubling from a

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       year ago," said Dr. Henry Lin, Chairman and Co-Chief Executive Officer ofNQ
       Mobile. "The strong growth in our user base is clear evidence of the consumer
       acceptance of our products and services as well as the efiectiveness of our user
       acquisition efforts."

[Emphasis added.]

        57.    The Company reported that cash and cash equivalents and term deposits

together amounted to $128.6 million as of June 30, 2012.

        58.    On November 12, 2012, NQ mmounced its Third Quarter 2012 financial results,

which were attached to a CulTent Report filed on Form 6-K with the SEC on November 13,

2012. The Company reported that net revenues increased 127.4% year-over-year to $25.8

million from $11.3 million in the Third Quarter 2011.

        59.    NQ also reported 5.6 million average monthly paying user accounts in China as

of September 30, 2012.

        60.    The Company reported that its cash and cash equivalents and tem1 deposits

together amounted to $126.2 million as of September 30, 2012.

       61.     On March 6, 2013, NQ mmounced its Fomih Quarter and Fiscal Year 2012

financial results, which were attached to a Current Repmi on Form 6-K filed with the SEC on

March 8, 2013.     The Company reported that net revenues for Fiscal Year 20 12 increased

125.6% year-over-year to $91.8 million and that operating income increased 52.7% year-over-

year to $4.9 million. In addition, the CuiTent Report stated, in relevant pmi:

       "We are very pleased to repmi a strong fourth quarter and an excellent 2012 fiscal
       year performance with record revenues," commented Dr. Henry Lin, Chairman
       and Co-Chief Executive Officer ofNQ Mobile. "In our first full year as a public
       company, we grew our revenue by 126% from $41 million to over $92 million.
       Even without taking into account the revenue contribution from the NationSky
       and Feiliu acquisitions, we achieved revenue of $79 million for 2012 and an
       outstanding organic growth rate of 93%. This significant growth is driven by our
       consistent execution, as well as the continued rapid growth of the global



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       smmiphone industry and adoption of mobile security and privacy solutions by
       consumers worldwide."

       "This past year also marked an imp01iant strategic year in the evolution of NQ
       Mobile as we broadened from a pure mobile security company to a mobile
       Internet platform company. Through the acquisitions ofNationSky and Feiliu, we
       greatly expanded our product and service offerings, extended our customer base,
       and diversified our revenue streams. We are well positioned to capitalize on the
       significant size and growth of the mobile Internet services market for both
       consumers m1d enterprises. Through continuous technology itmovation and
       expansion of products and services, we have set in motion our plan to become an
       integrated part of our users' daily mobile experiences," continued Dr. Lin.

       "Another key theme for NQ Mobile in 2012 was the continued global expansion
       of our business while maintaining our leadership position in China," added
       Omar Khan, Co-Chief Executive Officer of NQ Mobile. "We have made
       tremendous achievements in building a top tier global team, establishing our
       international corporate headquarters in Dallas, broadening our service otierings
       and gaining significant traction with global consumers and business pminers
       alike. There is no better evidence of that than our latest announcement with
       America Movil to offer the entire suite of our flagship consumer security and
       privacy offerings: NQ Mobile SecurityTM, NQ Mobile Vault™ and NQ Family
       GuardianTM to its 262 million subscribers across 18 countries. We are confident
       that the strong momentum in our international business will continue in 2013. We
       remain committed to our global expansion eff01i to drive the long term growth for
       our company.''

[Emphasis added.]

       62.      The Company also reported that it had 5.9 million paying user accounts m

China and 3.0 million paying user accounts overseas as of December 31, 2012.

       63.      The Company rep01ied that its cash and cash equivalents and term deposits

together amounted to $120.4 million as of December 31, 2012.

       64.      On this information, the price ofNQ ADS increased 14.1% to close at $10.01

on March 7, 2013.

       65.      On April 19, 2013, NQ filed its Annual Report with the SEC on Form 20-F.

The accompanying Sarbanes-Oxley certifications for the 20-F were signed by Defendants Lin,

Khan, and Ji.


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       66.     The A1mual Report states, in relevant pmi:

       Net revenues collected through our top mobile payment service provider,
       Yidatong, contributed 21.4%, 25.8% and 22.1% of our total net revenues in
       2010, 2011 and 2012, respectively.

[Emphasis added.]

       67.     The Company reported that it had 5.9 million paying user accounts in China and

3.0 million paying user accounts overseas as ofDecember 31,2012.

       68.     On August 12, 2013, NQ announced its Second Quarter 2013 financial results,

which were attached to a Cun·ent Report on Form 6-K filed with the SEC on August 15, 2013.

The Company reported that net revenues increased 107.4% year-over-year to $41.4 million.

       69.     The Company also reported that its cash m1d cash equivalents and term deposits

together amounted to $128.4million as of June 30,2013.

       70.     On this infom1ation, the price ofNQ ADS surged 22.7% to close at $19.51 on

August 13, 2013.

       71.     On October 16, 2013, NQ announced the completion of an offering of $172.5

million in aggregate principal amount of convertible senior notes due 2018.

The Truth Emerges

       72.     On October 24, 2013, securities brokerage firm Muddy Waters released an 81-

page research report, which alleges, in detail, that NQ has engaged in "massive fraud" in

connection with its financial and operational reporting.    Among other things, the Muddy

Waters repmi alleges that:

              (i)      At least 72% of the $32.2 million in Chinese security software revenue

       reported by NQ in 2012 is fraudulent. Actual revenue for 2012 was $2.5 million to

       $7.7 million.



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               (ii)    NQ's largest customer is actually NQ. Tianjin Yidatong, which the

        Company states is its largest customer, is actually a shell company controlled by NQ.

               (iii)   NQ's actual share of mobile security application market in China is

        1.4%, not the 55% that the Company claims. Muddy Waters estimates that the paying

        user base in China is less that 250,000 versus the approximately six million claimed by

       NQ.

               (iv)    The Company's revenue is vastly overstated in its financial statements.

       The Muddy Waters report estimates that the Company's overseas revenue in 2012 was

       $800,000- not the $36.5 million reported by the Company.

               (v)     The majority ofNQ's repmied cash balance is fraudulent.

       73.     On this information, NQ ADS plummeted to close at $10.63, down 47.2% from

the previous day's closing price of $22.88.

                                          SCIENTER

       74.     As alleged herein, Defendants acted with scienter in that Defendants knew, or

recklessly disregarded, that the public documents and statements they issued and disseminated

to the investing public in the name of the Company or in their own name during the Class

Period were materially false and misleading. Defendants knowingly and substantially

participated or acquiesced in the issuance or dissemination of such statements and documents

as primary violations of the federal securities laws. Defendants, by virtue of their receipt of

information reflecting the true facts regarding NQ, their control over, and/or receipt and/or

modification ofNQ's allegedly materially misleading misstatements, were active and culpable

participants in the fraudulent scheme alleged herein.




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        75.    Defendants knew and/or recklessly disregarded the falsity and misleading nature

of the information that they caused to be disseminated to the investing public. The fraudulent

scheme described herein could not have been perpetrated during the Class Period without the

knowledge and complicity or, at least, the reckless disregard of the personnel at the highest

levels of the Company, including the Individual Defendants.

        76.    The Individual Defendants, because of their positions with NQ, controlled the

contents of the Company's public statements during the Class Period. Each Defendant was

provided with or had access to copies of the documents alleged herein to be false and/or

misleading prior to or shortly after their issuance and had the ability and opportunity to prevent

their issuance or cause them to be coiTected. Because of their positions and access to material

non-public information, these Defendants knew or recklessly disregarded that the adverse facts

specified herein had not been disclosed to and were being concealed from the public and that

the positive representations that were being made were false and misleading. As a result, each

of these Defendants is responsible for the accuracy of NQ's corporate statements and is

therefore responsible and liable for the representations contained therein.

       77.     The scienter of the Individual Defendants is underscored by the Sarbanes-Oxley

mandated certifications signed by Defendants Lin, Khan, and Ji, which acknowledged their

responsibility to investors for establishing and maintaining controls to ensure that material

information about NQ was made known to them and that the Company's disclosure-related

controls were operating efficiently.

       78.     The Underwriter Defendants, in addition to availing themselves of access to

internal corporate documents, met with NQ's lawyers, management, and top executives to

determine: (i) the strategy to best accomplish the IPO; (ii) the terms of the IPO, including the



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price at which shares of NQ ADS would be sold; (iii) the language to be used in the OtTering

Documents; (iv) what disclosures about NQ would be made in the OtTering Documents; and

(v) what responses would be made to the SEC in connection with its review of the Offering

Documents.     As a result of those constant contacts and communications between the

Underwriter Defendants' representatives and NQ's management and top executives, the

Underwriter Defendants knew, or should have known, of NQ's existing problems, and

misstatements and omissions contained in the Offering Documents, as detailed herein.

                          LOSS CAUSATION/ECONOMIC LOSS

       79.     During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially inflated the price of NQ ADS and

operated as a fraud or deceit on IPO and Class Period purchasers of NQ ADS by failing to

disclose and misrepresenting the adverse facts detailed herein.        When Defendants' prior

misrepresentations and fraudulent conduct were disclosed and became apparent to the market,

the price ofNQ ADS fell precipitously as the prior artificial inflation came out.

       80.     As a result of their purchases ofNQ ADS during the Class Period, Plaintiff and

the other Class members suffered economic loss, i.e., damages, under the federal securities

laws. Defendants' false and misleading statements had the intended efTect and caused NQ

ADS to trade at artificially inflated levels throughout the Class Period, reaching as high as

$24.92 per share on October 18,2013.

       81.     By failing to disclose to investors the adverse facts detailed herein, Defendants

presented a misleading picture of NQ's business and prospects. When the tmth about the

Company was revealed to the market, the price of NQ ADS fell precipitously. These declines




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removed the inflation fi·om the price of NQ ADS, causing real economic loss to investors who

had purchased NQ ADS during the Class Period.

       82.    The declines in the price ofNQ ADS after the conective disclosure on October

24, 2013 were a direct result of the nature and extent of Defendants' fraudulent

misrepresentations being revealed to investors and the market. The timing and magnitude of

the price decline in NQ ADS negate any inference that the loss suffered by Plaintiff and the

other Class members was caused by changed market conditions, macroeconomic or industry

factors, or Company-specific facts unrelated to Defendants' fraudulent conduct. The economic

loss, i.e., damages, suffered by Plaintiff and the other Class members was a direct result of

Defendants' fraudulent scheme to artificially inflate the price ofNQ ADS and the subsequent

significant decline in the value of NQ ADS when Defendants' prior misrepresentations and

other fraudulent conduct were revealed.

                APPLICABILITY OF PRESUMPTION OF RELIANCE:
                     FRAUD-ON-THE-MARKET DOCTRINE

       83.    At all relevant times, the market for NQ ADS was an efficient market for the

following reasons, among others:

              (a)     NQ's ADS met the requirements for listing on, and was listed and

       actively traded on, the NYSE, a highly efficient and automated market;

              (b)     As a regulated issuer, NQ filed periodic public reports with the SEC and

       the NYSE;

              (c)     NQ regularly communicated with public investors v1a established

       market communication mechanisms, including through regular disseminations of press

       releases on the national circuits of major newswire services and through other wide-




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       ranging public disclosures, such as communications with the financial press and other

       similar reporting services; and

               (d)    NQ was followed by several securities analysts employed by major

       brokerage firms who wrote repmis that were distributed to the sales force and ce1iain

       customers of their respective brokerage finn.     Each of these reports was publicly

       available and entered the public marketplace.

       84.     As a result of the foregoing, the market for NQ ADS promptly digested current

information regarding NQ from all publicly available sources and reflected such information in

the price ofNQ ADS. Under these circumstances, all purchasers ofNQ ADS during the Class

Period suffered similar injury through their purchase ofNQ ADS at miificially inflated prices,

and a preswnption of reliance applies.

                                    NO SAFE HARBOR

       85.     The statutory safe hm·bor provided for forwm·d-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this

Complaint. Many of the specific statements pleaded herein were not identified as "forward-

looking statements" when made. To the extent there were any forward-looking statements,

there were no meaningful cautionary statements identifying important factors that could cause

actual results to differ materially from those in the purpmiedly forward-looking statements.

Alternatively, to the extent that the statutory safe harbor does apply to any forward-looking

statements pleaded herein, Defendants are liable for those false forward-looking statements

because at the time each of those forward-looking statements were made, the particular speaker

knew that the particular forward-looking statement was false, and/or the forward-looking




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statement was authorized and/or approved by an executive officer of NQ who lmew that those

statements were false when made.


                                             COUNT I

               Violations of Section 11 of the Securities Act Against All Defendants

         86.      Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

         87.      This claim is brought pursuant to Section 11 of the Securities Act, 15 U.S.C.

§77k, on behalf of the Class, against each of the Defendants.

         88.      The Offering Documents issued in conjunction with the IPO were inaccurate

and misleading, contained untrue statements of material facts, omit facts necessary to make the

statements made therein not misleading, and omit material facts required to be stated therein.

         89.      Defendant NQ is the issuer of the securities purchased or otherwise acquired by

Plaintiff and the Class. As such, NQ is strictly liable for the materially inaccurate statements

contained in the Registration Statement and the failure of the Offering Documents to be

complete and accurate.

         90.      The Individual Defendants signing the Registration Statement each had a duty

to make a reasonable and diligent investigation of the truthfulness and accuracy of the

statements contained in the Registration Statement. They had a duty to ensure that they were

true and accurate, that there were no omissions of material facts that would make the

Registration Statement misleading and that the document contained all facts required to be

stated therein.    In the exercise of reasonable care, the Individual Defendants should have

known of the material misstatements and omissions contained in the Registration Statement

and also should have known of the omissions of material fact necessary to make the statements

made therein not misleading. As such, the Individual Defendants are liable to Plaintiff and the

Class.

         91.      The Underwriter Defendants each served as underwriters in cmmection with the


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IPO. These Defendants each had a duty to make a reasonable and diligent investigation of the

truthfulness and accuracy of the statements contained in the Offering Documents. They had a

duty to ensure that they were true and accurate, that there were no omissions of material facts

that would make the Offering Documents misleading, and that the documents contained all

facts required to be stated therein.    In the exercise of reasonable care, the Underwriter

Defendants should have known of the material misstatements and omissions contained in the

Offering Documents and also should have known of the omissions of material facts necessary

to make the statements made therein not misleading. As such, the Underwriter Defendants are

liable to Plaintiff and the Class.

        92.     By reasons of the conduct alleged herein, each Defendant violated Section 11 of

the Securities Act.

        93.     Plaintiff acquired shares ofNQ ADS in reliance on the OfJering Documents and

without knowledge of the untruths and/or omissions alleged herein.          Plaintiff sustained

damages and the price of NQ's shares declined substantially due to material misstatements in

the Registration Statement.

        94.     This action was brought within one year after the discovery of the untrue

statements and omissions and within three years of the date ofthe IPO.

        95.     By virtue of the foregoing, Plaintiff and the other members of the Class are

entitled to damages under Section 11 as measured by the provisions of Section 11 (e), from the

Defendants and each of them, jointly and severally.

                                          COUNT II

         Violations of Section 12(a)(2) of the Securities Act Against All Defendants

        96.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        97.     Defendants were sellers and offerors to and/or solicitors of purchasers of the

NQ securities ofJered pursuant to the IPO. Defendants issued, caused to be issued, and signed



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the Offering Documents in connection with the IPO. The Offering Documents were used to

induce investors, such as Plaintiff and the other members of the Class, to purchase NQ

securities.

        98.     The Offering Documents contained untrue statements of material facts and

omitted material facts.    Defendants' actions of solicitation included pmiicipating in the

preparation of the false and misleading Offering Documents.

        99.     Plaintiff and the other Class members did not know, nor could they have known,

of the untruths or omissions contained in the Offering Documents.

        100.    Defendants were obligated to make a reasonable and diligent investigation of

the statements contained in the Offering Documents to ensure that such statements were true

and that there was no omission of material fact required to be stated in order to make the

statements contained therein not misleading.        None of the Defendants made a reasonable

investigation or possessed reasonable grounds for the belief that the statements contained in the

Offering Documents were accurate and complete in all material respects. Had they done so,

these Defendants could have known of the material misstatements and omissions alleged

herein. This claim was brought within one year after discovery of the untrue statements and

omissions in the Offering Documents and within three years after NQ securities were sold to

the Class in connection with the IPO.

                                          COUNT III

     Violations of Section 15 of the Securities Act Against the Individual Defendants

        101.   Plaintiff repeats and realleges each and every allegation contained above as if

fully set fmih herein.

        102.   Individual Defendants acted as controlling persons ofNQ within the meaning of

Section 15 of the Securities Act. By reason of their ownership, senior management positions,

and/or directorships at the Compm1y, as alleged above, these Defendants, individually and

acting pursuant to a common plan, had the power to influence and exercised the same to cause



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NQ to engage in the conduct complained of herein. By reason of such conduct, the Individual

Defendants are liable pursuant to Section 15 of the Securities Act.

        I 03.   As a direct and proximate result of the wrongful conduct, Class members

suffered damages in connection with their purchases of the Company's securities.

                                             COUNT IV

Violations of Section lO(b) of the Exchange Act and Rule lOb-S Promulgated Thereunder
                       (Against NQ and the Individual Defendants)
        I 04.   Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        105.    During the Class Period, Defendants pmiicipated in the preparation of and/or

caused to be disseminated, the false statements specified above, which they knew or recklessly

disregarded were materially false and misleading in that they contained material

misrepresentations and failed to disclose material facts necessary to render the statements

made, in light of the circumstances under which they were made, not misleading.

        106.    Defendants violated Section 1O(b) of the Exchange Act and SEC Rule 1Ob-5 in

that they:

                a.        Employed devices, schemes, and miifices to defraud;

                b.        Made untrue statements of material fact or omitted to state material facts

                          necessary to render the statements made, in light of the circumstances

                          under which they were made, not misleading; and/or

                c.        Engaged in acts, practices, and/or a course of conduct that operated as a

                          fraud or deceit upon Plaintiff and others similarly situated in connection

                          with their purchases ofNQ securities during the Class Period.

        107.    Defendants, individually and together, directly and indirectly, by the use,

means, or instrumentalities of interstate commerce and/or of the mails, engaged and

pm·ticipated in a continuous course of conduct to conceal the truth and/or adverse material

information about the business, operations and future prospects ofNQ as specified herein.

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        108.   These Defendants employed devices, schemes, and artifices to defraud, while in

possession of material, adverse, non-public information and engaged in acts, practices, and a

course of conduct as alleged herein by, among other things, participating in the making of

untrue statements of material fact and omitting to state material facts necessary to render the

statements made about the Company and its business operations not misleading. Defendants

also engaged in transactions, practices, and a course of business which operated as a fraud and

deceit upon the purchasers ofNQ securities during the Class Period.

       109.    Defendants had actual knowledge of the misrepresentations and omissions of

material fact set forth herein or recklessly disregarded the true facts that were available to

them. Defendants knowingly, or with reckless disregard for the truth, concealed from investors

that: (i) at least 72% of NQ's reported $32.2 million in 2012 Chinese mobile security

applications revenue is fraudulent- NQ's real mobile security revenue was $2.5 million- $7.7

million; (ii) NQ's largest customer is actually an empty shell company controlled by NQ; (iii)

NQ's real market share in China is only about 1.4%, versus the approximately 55% it reports;

(iv) NQ's international revenues are wildly overstated; and (v) the vast majority of the $127.9

million cash and investments NQ reported having as of December 31, 2012 is not actually in

the Company's accounts.

       110.    As a result of the dissemination of the materially false and misleading

infonnation and failure to disclose material facts, as set forth above, the market price ofNQ's

publicly traded securities was miificially inflated during the Class Period. In ignorance of the

fact that the market prices of the Company's publicly traded securities were artificially

inflated, and relying directly or indirectly on the false and misleading statements, and/or upon

the integrity of the market in which the securities trade, and/or on the absence of material

adverse information that was known to or recklessly disregarded by Defendants but not

disclosed in public statements by Defendants during the Class Period, Plaintiff and other

members of the Class acquired NQ securities during the Class Period at artificially high prices



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and were damaged thereby, as demonstrated, in part, by the declines in the price of the

Company's ADS following the October 24, 2013 revelation of truth discussed herein.

        111.    At the time of these misrepresentations and omissions, Plaintiff and other

members ofthe Class were ignorant of their falsity and believed them to be true. Had Plaintiti,

the other members of the Class, and the marketplace known the truth as alleged herein, which

was not disclosed by Defendants, Plaintiti and other members of the Class would not have

purchased or otherwise acquired their NQ ADS, or, if they had purchased or otherwise

acquired these securities during the Class Period, would not have done so at the artificially

inflated prices that they paid.

        112.    By virtue of the foregoing, Defendants have violated Section I O(b) of the

Exchange Act and Rule 1Ob-5 promulgated thereunder.

        113.    As a direct and proximate result of Defendants' wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their purchases of NQ

ADS during the Class Period.

                                          COUNTY

    Violations of Section 20(a) of the Exchange Act Against the Individual Defendants
        114.    Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        115.    The Individual Defendants acted as controlling persons of NQ within the

meaning of Section 20( a) of the Exchange Act as alleged herein. By virtue of their high-level

positions, agency, participations in and/or awareness of NQ's operations, and/or intimate

knowledge of the false statements disseminated to the investing public, the Individual

Defendants had the power to in:t1uence and control, and did influence and control, directly or

indirectly, the decision-making of NQ, including the content and dissemination of the various

statements that Plaintiff contends are false and misleading. The Individual Defendants were

provided with or had unlimited access to copies of the Company's press releases and other


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statements alleged by Plaintiff to have been misleading prior to and/or shortly after these

statements were issued and had the ability to prevent the issuance of the statements or to cause

the statements to be corrected.

           116.   In particular, each Individual Defendant had direct and supervisory involvement

in the day-to-day operations of the Company and, therefore, is presumed to have had the power

to control or influence the particular transactions giving rise to the securities violations as

alleged herein, and exercised the same.

           117.   As set fmih above, these Individual Defendants violated Section 10(b) of the

Exchange Act and SEC Rule 1Ob-5 by their acts and omissions as alleged in this Complaint.

           118.   By virtue of their positions as controlling persons, the Individual Defendants are

liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of

Defendants' wrongful conduct, Plaintiff and other members of the Class suffered damages in

connection with their purchases ofNQ ADS during the Class Period.

        119.      This action was filed within two years of discovery of the fraud and within five

years of Plaintiff's purchases of securities giving rise to the cause of action.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       A.         Determining that this action is a proper class action under Rule 23 of the

Federal Rules of Civil Procedure with Plaintiff serving as class representative;

       B.         A warding compensatory damages in favor of Plaintiff and the other Class

members against all Defendants for all damages sustained as a result of Defendants'

wrongdoing, in an amount to be proven at trial, including pre- and post-judgment interest

thereon;

       C.         Awarding Plaintiff and other members of the Class rescission on their Section

12(a)(2) claims;

       D.         Awarding Plaintiff and the Class their reasonable costs and expenses incurred in



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this action, including counsel fees and expert fees; and

          E.     Such equitable, injunctive, or other relief as the Court may deem just and

proper.
                                       JURY TRIAL DEMANDED

          Plaintiff hereby demands a trial by jury.

Dated: November 14, 2013
                                                      L       II
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                                   NQ MOBILE, INC.
                      CERTIFICATION OF NAMED PLAINTIFF
                    PURSUANT TQ,;EJ;,DERAL SECURlTipS LAWS

James Martin ("Plaintiff'') declares:

            1. Plaintiff has reviewed a complaint and authorized its tiling.
       1.     Plaintiff did not acquire the security that is the subject of this action at
the direction of plaintiff's counsel or in order to participate in this private action or
any other litigation Wlder the federal securities laws.
       2.     Plaintiff is willing to serve as a representative party on behalf of the
class, including providing testimony at deposition and trial, if necessary.
       3.     Plaintiff has made the following transactions during the Class Period
in the securities that are the subject of this action:
                                     See Schedule A
       4.     Plaintiff has not sought to serve or served as a representative party in a
class action that was filed under the federal securities laws within the three-year
period prior to the date of this Certification except as detailed below:




      5.      Plaintiff will not accept any payment for serving as a representative
party on behalf of the class beyond Plaintiff's pro rata share of any recovery,
except such reasonable costs and expenses (including lost wages) directly relating
to the representation of the class as ordered or approved by the court.
      I declare under penalty of perjury that the foregoing is true and correct.
Executed this ?... ~     day of       0 C..,lo 'a e.L-, 2013.

                                                   ~~~
                                                    .,.......__
                                                                  AMES MARTIN
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                                      JAMES MARTIN
                                       SCHEDULE A
                        .......,...
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                        Act~
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   Trade Date                              . ' Quantity     Price
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